     Case: 1:19-cr-00567 Document #: 82 Filed: 01/22/20 Page 1 of 1 PageID #:399

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                      Case No.: 1:19−cr−00567
                                                        Honorable Harry D. Leinenweber
Robert Sylvester Kelly, et al.
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 22, 2020:


       MINUTE entry before the Honorable Harry D. Leinenweber: With the government
having presented its bill of particulars [79], defendant's motion for bill of particulars as to
counts 7 and 8 of the indictment [72] is denied as moot. Mailed notice(maf)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
